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Source1                                                                     Exhibit   Previous Use        Filings             Immaterial2
Chapter Three The Budget from the Financial Regulations of the           Exhibit 1                                            Hearsay
MWL founding charter as published by the League’s Founding
council in its 37th meeting in Mecca (Articles 7-13) (JT-MWL 00127)
Letter from Dr. Hassan Muhammad Bajouda to Deputy Secretary              Exhibit 2T
General of MWL, 5/9/1414 H (JT-MWL 00482_EN)
Letter from Fawzi Rushdi Al-Adhmeh (MWL Director of Financial            Exhibit 3T                                           Hearsay, FRE 602
Administration Department) to the MWL Assistant Secretary General
for Administrative and Financial Affairs, 17/10/1415 H (JT-MWL
00530_EN)
Meeting Record of the MWL General Secretariat Permanent                  Exhibit 4T                                           Hearsay, FRE 602
Coordination Committee of Mosques, 20/2/1421 H (JT-MWL
00645_EN)
Memo from the KSA General Auditing Bureau, 5/3/1425 H (JT-MWL            Exhibit 5T
04514_EN)
Letter from Abdul Qader bin Abdullah Basfar (KSA General Manager         Exhibit 6T
of the General Auditing Bureau – Mecca Area) to the MWL General
Manager of the Financial and Administrative Affairs (JT-MWL
04515_EN)




1
 Document descriptions, other than bracketed text indicating commonly-used short-form descriptors, are taken directly from the Affirmation.
Their use is for convenience only and should not be taken as a concession that the descriptions are accurate.
2
 Defendant’s objections to the cited documents are made for purposes of the pending motion to dismiss. Defendant reserves the right to move to
exclude, or to assert additional objections, in the event that any party seeks to admit any of the cited documents into evidence in any future
proceeding.

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Source                                                                          Exhibit   Previous Use   Filings            Immaterial
Facsimile from Mohammad bin Nasser Al Abboudi (MWL Assistant                Exhibit 7T                                      Hearsay, FRE 602
Secretary General) to the IIRO Secretary General in Jeddah, 14/7/1419
H (JT-MWL 04556 - 04557_EN)
July 31, 2001 article appearing in Al Jazeera, Issue no. 10533, Order       Exhibit 8T                                      Hearsay, FRE 602
for financial assistance to Islamic associations and centers as per the
directive of the Custodian of the Two Holy Mosques, 10 million riyal
headquarters for the Institute of Islamic Sciences in Jakarta, authored
by Khalid Bin Hamad Al-Malek, Editor in Chief
The Third Chapter The Budget from the Financial Regulations of the          Exhibit 9T                                      Hearsay
MWL founding charter as published by the MWL Constituent
Council’s 37th session (Articles 6-15) (MWL 05138_EN)
December 31, 1994 MWL accounting statement, Income and                     Exhibit 10T                                      Hearsay
expenditure accounts for the year ended in Capricorn 9, 1373 SH on
28 Rajab, 1415 A.H (MWL 05346-5347_EN)
December 31, 1997 MWL accounting statement, A statement of                 Exhibit 11T                                      Hearsay
revenue and expenses for the year ended in Capricorn 9, 1376 SH on
1st Ramadan, 1418 A.H (MWL 05350-51_EN)
December 31, 1996 MWL accounting statement, A statement of                 Exhibit 12T                                      Hearsay
revenue and expenses for the year ended in Capricorn 9, 1375 SH on
20 Shaaban, 1417 A.H (MWL 05354-5355_EN)
December 31, 1993 MWL accounting statement, The financial        Exhibit 13T                                                Hearsay
Position, Capricorn 9, 1372 SH on 17 Rajab, 1414 A.H (MWL 05364-
66_EN)
IIRO Report, A report on the first relief campaign for distribution of     Exhibit 14T                                      Hearsay
the gift by the Custodian of the Two Holy Mosques, may Allah bless
him, to the needy Afghani people (IIRO 14955-57_EN)




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Source                                                                         Exhibit   Previous Use   Filings            Immaterial
Letter from Prof. Mana bin Hammad al-Juhani (WAMY Secretary               Exhibit 15T                                      Hearsay
General) to Prof. Abdullah Abdul Mohsen Al Turki (President of
WAMY and Minister of Islamic Affairs, Endowments and Guidance),
04/09/1416 AH (WAMYSA 02444_EN)
Letter from Prof. Mana bin Hammad al-Juhani (WAMY Secretary               Exhibit 16T                                      Hearsay
General) to Prof. Abdullah Abdul Mohsen Al Turki (President of
WAMY and Minister of Islamic Affairs, Endowments and Guidance),
08/07/1417 AH (WAMYSA 02973_EN)
Minutes of the Eighth Meeting of the IIROSA Board of Directors,           Exhibit 17T                                      Hearsay
Sunday 4/3/1422 A.H. corresponding to 27/5/2001 A.D. (MWLIIRO
16233-16237_EN)
Minutes of the Sixth Meeting of the IIROSA Board of Directors,            Exhibit 18T                                      Hearsay
Wednesday, 22/6/1421 A.H. corresponding to 20/9/2000 A.D.
(MWLIIRO 16243-16246_EN)
Trust Deed, dated August 6, 1984 for the lease of the MWL office in        Exhibit 19
London (MWL007033-7043)
Letter from Abdel Hadi Taher Dajeet (Chargé d’affaires of the MWL         Exhibit 20T                                      Hearsay
Philippines Office) to the Islamic and Cultural Affairs officer at the
Saudi Embassy in Manila, The Philippines, 4 Dhul Hijja 1417 H
(MWL 008574_EN)
Meeting protocol from an IIRO meeting held at The International           Exhibit 21T                                      Hearsay, FRE 901
Islamic Council for Da’awa and Relief held in Johannesburg in
November 1998, Recommendations of the twentieth meeting of
General Relief Committee held from 14 to 17 Rajab 1419 Hijri, 13-16
November 1998 GC In the city of Johannesburg – South Africa (list of
members of the General Relief Committee) (IIRO 227909-910_EN)




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Source                                                                        Exhibit   Previous Use   Filings            Immaterial
Meeting protocol from an IIRO meeting held at The International          Exhibit 22T                                      Hearsay
Islamic Council for Da’awa and Relief held in Johannesburg in
November 1998, Recommendations of the twentieth meeting of
General Relief Committee held from 14 to 17 Rajab 1419 Hijri, 13-16
November 1998 GC In the city of Johannesburg – South Africa
(recommendations 8-10) (IIRO 277919_EN)
Letters regarding assistance for Burma refugees in Bangladesh and the    Exhibit 23T                                      Hearsay
recommendations of the Supreme Council for Islamic Affairs (IIRO
280172-178_EN)
Letter from Dr. Adnan bin Khalil Basha (IIRO Secretary General) to       Exhibit 24T                   Kreindler Ex. 201 Hearsay
the Deputy Minister of Foreign Affairs, 16/4/1421 H (corresponding
to July 18, 2000) (IIRO 285013_EN)
Facsimile from Dr. Adnan Bin Khalil Basha (IIRO Secretary General) Exhibit 25T                         Kreindler Ex. 173 Hearsay
to Ibrahim Bin Mohamed Al-Hibr (Religious Attaché to the Saudi
Embassy in Addis Ababa and Chairman of the Committee Supervising
the IIRO Office in Ethiopia), 7/1/1422 AH (corresponding to
September 18, 2001) (IIRO 284663_EN)
Circular from the Ministry of Islamic Affairs’ branch office in the      Exhibit 26T
Eastern Province, 9/10/1424 A.H. (corresponding to November 4,
2003) (IIRO 283369_EN)
MWL meeting protocol regarding recommendations for assistance to         Exhibit 27T                                      Hearsay
the Olog Mosque Society in Brussels, Belgium to renovate and
convert a building into a mosque, 6/2/1419 H (JT-MWL 00616_EN)
Letter from Wael Hamzah Jelaidan (Director General-cum-Secretary          Exhibit 28                                      Hearsay
General of the Rabita Trust) to Dr. Masooma Hasan (Secretary
Cabinet Division, Islamabad), October 14, 2000 (MWL 030818)




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Source                                                                      Exhibit   Previous Use   Filings            Immaterial
Letter from Amin Aqeel Attas (Secretary Assistant General for          Exhibit 29T                                      Hearsay
Administrative and Financial Affairs) to the Deputy Minister of the
Ministry of Finance and National Economy for Economic Affairs, 6
Muharram 1418 (MWL 051264_EN)
Letter from Dr. Abdullah Bin Abdul Muhsen Al Turki (MWL                Exhibit 30T                                      Hearsay
Secretary General) to Prince Sultan bin Abdel Aziz (Second Deputy
Prime Minister and President of the Supreme Council for Islamic
Affairs) (MWL 051436_EN)
Letter from Dr. Abdullah Abdul Muhsen Al Turki (MWL Secretary          Exhibit 31T                                      Hearsay
General) to King Fahed bin Abdelaziz Al Saud (Custodian of the Two
Holy Mosques), 13 Muharram 1422 H (MWL 051698_EN)
Letter from Dr. Abdullah bin Abdul Muhsen Al Turki (MWL                Exhibit 32T                                      Hearsay
Secretary General) to King Fahd bin Abdul Aziz Al Saud (Custodian
of the Two Holy Mosques), 4 Rabi’ Al-Awal 1422 H (MWL
058614_EN)
Letter from Abdullah Bin Abdul Muhsen Al Turki (MWL Secretary          Exhibit 33T                                      Hearsay
General) to Prince Abdul Aziz Bin Fahed bin Abdul Aziz Al Saud
(Minister of State and Member of the Council of Ministers and Head
of the Cabinet of the Council of Ministers), 12 Safar 1422 (MWL
051331_EN)
Letter from Dr. Abdullah bin Saleh Al Obeid (MWL Secretary             Exhibit 34T                                      Hearsay
General) to the Ambassador of the Custodian of the Two Holy
Mosques, Copenhagen, Denmark, 21 Rabee al-Thani 1418 (MWL
052523_EN)
Letter from Mohammad Bin Nasser Al Aboudi (MWL Deputy                  Exhibit 35T                                      Hearsay
Secretary General) to Mohammad Nouri Ibrahim (Saudi Ambassador
to Madrid), 7 Safar 1414 (MWL 052287_EN)



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Excerpt from a speech by MWL Secretary General from the Charity          Exhibit 36T                                       Hearsay
activities in the time of King Abdullah Conference (MWL
058868_EN)
Letter from Abdulaziz bin Abdullah bin Baz (Grand Mufti of Saudi         Exhibit 37T                   Kreindler Ex. 147
Arabia) to the Sheikh Muhammad Bin Nasser Al Aboudi (MWL
Acting Secretary General), 28/5/1416 (MWL 059172_EN)
Letter from Dr. Abdullah bin Abdul Muhsin Al Turki (MWL                  Exhibit 38T                                       Hearsay
Secretary-General) to King Fahd bin Abdulaziz Al Saud (Custodian of
the Two Holy Mosques), 1 Safar 1422 AH (MWL 056784_EN)
Series of letters regarding appreciation expressed to King Fahd bin      Exhibit 39T                                       Hearsay
Abdel Aziz Al Saud by high ranking Taliban officials for assistance
and requesting cooperation and assistance from the King through the
IIRO (IIRO 096108 & IIRO 096075-6 & 096114_EN)
Letter from Dr. Abdullah Abdel-Mohsen Al-Torkey (MWL Secretary           Exhibit 40T                                       Hearsay
General) to Sheikh Saleh bin Abdel-Aziz bin Mohammad Al Elsheikh
(Minister of Islamic Affairs, Endowments, Da’wah and Guidance), 22
Jomada Alawal 1422 (MWL 051339_EN)
Minutes of a meeting held by the committee established at the request    Exhibit 41T
of the Minister of Islamic Affairs to distribute funds donated by the
Saudi King, April 2, 2002 (IIRO 35077 – IIRO 35081_EN)
February 3, 1992 article from Al Alam Al Islami (Muslim World),          Exhibit 42T                                       Hearsay
Issue 1250, Board Members Express their Gratitude and Appreciation
to Custodian of the Two Holy Mosques for His Continued Support of
the League
May 3, 1993 article from Al Alam Al Islami (Muslim World), Issue         Exhibit 43T                                       Hearsay, FRE 602
1290, The Custodian of the Two Holy Mosques Thanks the Secretary
General of the Muslim World League


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Source                                                                       Exhibit   Previous Use   Filings            Immaterial
July 27, 1992 article from Al Alam Al Islami (Muslim World), League Exhibit 44T                                          Hearsay, FRE 602
Exercises Its Activities in Large Area of the World and Support from
Custodian of the Two Holy Mosques Doubles Efforts it Exerts
Administrative Decision No. 93 of the IIRO Secretary-General on the     Exhibit 45T                                      Hearsay
establishment of a committee to manage the IIRO office in Mauritania
(IIRO 129743 - IIRO 129744_EN)
Minutes of the 15th meeting of the IIRO’s Overseas Offices              Exhibit 46T                                      Hearsay
Committee, Fifteenth Committee Meeting Minutes of the Offices
Abroad, Saturday, 6/8/1418 Hijri, corresponding to 12/06/1997
Gregorian calendar (IIRO 287527 - IIRO 287536_EN)
Letter from Mohammad bin Nasser Al Abboudi (MWL Assistant               Exhibit 47T                                      Hearsay
Secretary General) to Dr. Adnan bin Mohammad Al Wazzan
(Secretary General for Islamic Affairs, Head of the Preparatory
Committee – Riyadh) (MWL 052935_EN)
Letter from Dr. Abdullah Bin Abdul Muhsen Al Turki (MWL                 Exhibit 48T                                      Hearsay
Secretary General) to the Minister of Islamic Affairs, Endowments,
Da`wah and Guidance, 7 Dhul-Qi’dah 1422H (MWL 051310_EN)
Letter from Abdallah bin Abdel Mohsen Al Turki (Minister of Islamic     Exhibit 49T
Affairs, Endowments, Da`wah and Guidance) to the MWL Secretary
General, 2/5/1419 H (IIRO 280442_EN)
Letter from the IIRO Office in Chad to Dr. Adnan bin Khalil Basha       Exhibit 50T                                      Hearsay
(IIRO Secretary General), 10/10/1419 AH (IIRO 280436_EN)
Correspondence from Abdullah bin Mohammad bin Suleiman Al               Exhibit 51T
Lheidan (Director assigned to the Branch of the Ministry of Islamic
Affairs, Endowments, Da’wah, and Guidance in the Eastern Region)
to various charities, 2/7/1424 (IIRO 283387_EN)




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Excerpts from the Minutes of the 7th meeting of the IIRO Overseas       Exhibit 52T                                      Hearsay
Offices Committee (IIRO 287458 - IIRO 287463_EN)
IIRO Administrative decision No, 245 dated 27/09/1419 AH (IIRO          Exhibit 53T                                      Hearsay
287341_EN)
IIRO Administrative Decision No. (185) dated 11/3/1422 [A.H. –          Exhibit 54T                                      Hearsay
01/16/2002 A.D.] (IIRO 287198_EN)
MWL Administrative Decision No. (769/Q) dated 6/29/1412 A.H.            Exhibit 55T                                      Hearsay
[01/04/1992 A.D.] (MWL 059354_EN)
MWL Administrative Decision No. (973/Q) dated 7/9/1414 A.H.             Exhibit 56T                                      Hearsay
[12/22/1993 A.D.] (MWL 059236_EN)
MWL Administrative Decision No. (302/140/Q) dated 2/5/1424 A.H.         Exhibit 57T                                      Hearsay
[04/07/2003 A.D.] (MWL 059241_EN)
MWL Administrative Decision No. (302/1997/Q) dated 11/2/1423            Exhibit 58T                                      Hearsay
A.H. [01/04/2003 A.D.] (MWL 059276_EN)
Letter from Dr. Adnan Bin Khalil Basha (IIRO Secretary General) to      Exhibit 59T                                      Hearsay
Ismail Bin Ibrahim Al- Shouri (Deputy Foreign Minister of Political
Affairs), 3/12/1421 AH (corresponding to June 14, 2000) (IIRO
096423_EN)
Letters from Dr. Abdullah bin Abdel Muhsen Al Turki (MWL                Exhibit 60T                                      Hearsay
Secretary General) to the Under Secretary of the Ministry of Foreign
Affairs for Political Affairs (IIRO 280607 - IIRO 280611_EN)
Letter from Saud Al Faisal (Minister of Foreign Affairs) to the MWL     Exhibit 61T
Secretary General, 24/8/1424 H (JT-MWL 00753_EN)
Letter from Dr. Manaa bin Hammad Al Juhini (WAMY Secretary              Exhibit 62T                                      Hearsay
General) to Abdullah bin Laden (Supervisor of the WAMY office in
North America), 7/6/1417 H (WAMYSA 002894_EN)


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Letter from Mohammed Bin Faisal Bin Torki (Head of Islamic Affairs    Exhibit 63T
at the Saudi Embassy in the USA) to Dr. Mane’ Bin Hamad Al-Jahni
(WAMY Secretary General), 1/22/1413 A.H. (corresponding to July
22, 1992) (WAMYSA 002683_EN)
Al-Haramain Bangladesh Office 2001 annual report (AH 00596-            Exhibit 64                                      Hearsay
00639)
Telegram from Sultan Bin Abdulaziz (Chairman of the Supreme            Exhibit 65T
Council for Islamic Affairs) to the Minister of Higher Education (IIRO
280522_EN)
Letters from Fawzi Bin Hassan Bin Mohammed Jamal (Manager of          Exhibit 66T                                      Hearsay
the IIRO Office in Jakarta) to the Religious Attaché at the Saudi
Embassy in Jakarta (IIRO 277332 - 277333 & 277336_EN)
Letter from Muhammad Bin Mirdas Alqahtani (Ambassador of the          Exhibit 67T
Custodian of the Two Holy Mosques) to Adnan Khalil Basha (IIRO
Secretary General) (IIRO 280045_EN)
Correspondence between Officers of the MWL Financial Affairs          Exhibit 68T                                      Hearsay
office and the Saudi Foreign Ministry, embassy and consulate (IIRO
284220-IIRO 284223_EN)
Letter from Dr. Adnan Bin Khalil Basha (IIRO Secretary General) to    Exhibit 69T                                      Hearsay
Sheikh Saleh Bin Abdulaziz Ash-seikh (Minister of Islamic Affairs,
Endowments, Call and Guidance), 24/10/1422 H (corresponding to
January 8, 2001) (IIRO 285033_EN)
Letter from Mou’ayyad Bin Abdel Wahed Albatteeri (Office Manager      Exhibit 70T                                      Hearsay
for IIRO in Pakistan) to Dr. Adnan Khalil Basha (IIRO Secretary
General), 27/8/1419 H (IIRO 111814-15_EN)




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Letter from Dr. Adnan Bin Khalil Basha (IIRO Secretary General) to      Exhibit 71T                                     Hearsay
Samir Radi (Deputy Director of the Sanabel Al-Khair Company),
4/12/1422 AH (corresponding to July 3, 2001) (IIRO 112079_EN)
Cable from Saud Al-Faisal (Minister of Foreign Affairs) to the          Exhibit 72T
President of the Royal Court
Letter from Abdullah Bin Abdul Mohsen Al-Torki (MWL Secretary           Exhibit 73T                                     Hearsay
General) to the Minister of Foreign Affairs, Muharram 28, 1434 AH
(corresponding to December 11, 2012)
Cable from Saud Al- Faisal (Minister of Foreign Affairs) to the MWL     Exhibit 74T
Secretary General
Letter from Dr. Adnan bin Khalil Basha (IIRO Secretary General) to      Exhibit 75T                                     Hearsay
the Saudi Ambassador in Jordan, 7/7/1422 H (IIRO 284660_EN)
Letter from Roberto R. Romulo (Philippine Secretary of Foreign           Exhibit 76                                     Hearsay, FRE 602
Affairs) to the Saudi Ministry of Islamic Affairs, August 6, 1993
(MWL 015876)
Letter from the Philippines Secretary of Foreign Affairs to Dr.          Exhibit 77                                     Hearsay
Abdullah Omar Naseef (MWL Secretary General), May 27, 1988
(MWL 15878)
Letter from Dr. Fareed Yaseen Qorashee (IIRO General Supervisor) to Exhibit 78T                                         Hearsay
Dr. Ibrahim (Office Manager of MWL in Nouakchott, Mauritania),
22/04/1415AH (IIRO 001185_EN)
Letter from Dr. Abdullah Bin Omar Naseef (MWL Secretary General)        Exhibit 79T                                     Hearsay, FRE 602
to the President of the Republic of Romania, 23 Dhul-Hijjah 1413AH
(MWL 023251-23252_EN)




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Documents produced by counsel for IIRO and bearing bates           Exhibit 80T                                      Hearsay
numbers(IIRO 0338581, 0338582, 0338583, 0338585, 0338586,
0338587, 0338588_EN), and include: “Confidential” communication
from IIRO Secretary General Dr. Ahmad Muhammad Ali to IIRO
General Supervisor Fareed Yaseen Qorashee, dated 21/11/1414AH; •
A telegram from Saudi Arabia Prime Minister Fahd Bin Adul Aziz to
the Saudi Arabia Minister of Higher Education (copies to General
Office of Civil Service and MWL), dated 15/11/1414AH; • A message
from MWL Secretary General and Heard of Board of the IIRO,
Ahmad Muhammad Ali to King Fahd Bin Abdul Aziz Al Saud, dated
11/05/1415AH; • A message from the Second Deputy Prime Minister
Sultan Abdul Aziz to the Minister of Higher Education, dated
09/07/1412AH; • A “Confidential” message from MWL Secretary
General Dr. Abdullah Bin Omar Naseef to General Supervisor of the
International Islamic Relief Organization, dated Date:
22/07/1412AH;• A message from MWL Secretary General Dr.
Abdullah Bin Omar Naseef to King Fahd Bin Abdul Aziz Al Saud,
dated 14/03/1413AH; • A circular by telegram from M. Al Shawi, the
Saudi Arabia Ministry of Foreign Affairs, Riyadh, dated
24/09/1412AH, to “all Kingdom representatives abroad,” regarding
“Compliments to Secretary-General of Muslim World League.”
MWL Resolution No. (302/1067/Q) dated 05/08/1421AH (MWL             Exhibit 81T                  Kreindler Ex. 148 Hearsay
059176_EN)
Correspondence from IIRO Secretary General Adnan Bin Khalil         Exhibit 82T                                     Hearsay
Basha to Dr. Saleh Bin Muhammad Al Ghamedi, Saudi Arabia
Ambassador in Philippines, dated 21/10/1423AH (IIRO 120169_EN)
“Urgent” telegram from Saudi Arabia Prime Minister Fahd Bin Abdul   Exhibit 83T
Aziz to Saudi Arabia Minister of Interior, and others, dated
03/02/1420AH (IIRO 277786-87_EN)


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Correspondence from MWL Secretary General Abdullah Bin           Exhibit 84T                                             Hearsay
Abdulmoshen Al Turkey to King Fahd Bin Abdul Aziz Al Saud, dated
04/09/1424AH (IIRO 278760_EN)
Circular from IIRO Manager of External Offices Department, Sayed         Exhibit 85T                  Kreindler Ex. 207 Hearsay
Mahmoud Noor Gestneih to “all managers of the External Offices of
the [IIRO] and its representative,” dated 07/09/1416AH (IIRO
288031_EN)
Letter from Muhammad Ali Al Harkan (MWL Secretary General) to            Exhibit 86T                                     Hearsay
Emir Fahd Bin Abdul Aziz (Crown Prince and Vice Prime Minister)
(MWL 039323_EN)
Letter from the Vice Prime Minister of the Council of Ministers to the   Exhibit 87T
MWL Secretary General (MWL 039324_EN)
Telegram from Dr. Abdullah Bin Abdulmohsen Al Turkey (MWL                Exhibit 88T                                     Hearsay
Secretary General) to King Abdul Aziz Bin Fahd Bin Abdul Aziz,
02/11/1422AH (MWL 069959-69960_EN)
Telegram from King Fahd Bin Abdul Aziz to the MWL Secretary              Exhibit 89T
General, 13-14/10/1422AH (MWL 069961_EN)
Telephone message from Secretary-General of Muslim World League          Exhibit 90T                                     Hearsay
Dr. Abdullah Bin Abdulmohsen Al Turkey to Sheikh Muhammad Bin
Abdullah Al Nowesar, dated 13/09/1425AH (MWL 069962_EN)
Telephone message from Secretary-General of Muslim World League          Exhibit 91T                                     Hearsay
Dr. Abdullah Bin Abdulmohsen Al Turkey to Sheikh Muhammad Bin
Abdullah Al Nowesar, dated 18/06/1425AH (MWL 069963_EN)
“Very Urgent Telegram” from Secretary-General of Muslim World            Exhibit 92T                                     Hearsay
League Dr. Abdullah Bin Abdulmohsen Al Turkey to Sheikh
Muhammad Bin Abdullah Al Nowesar, dated 09/07/1423AH (MWL
069970_EN)


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Source                                                                   Exhibit      Previous Use     Filings            Immaterial
“Very urgent telephone message” from Secretary-General of Muslim        Exhibit 93T                                       Hearsay
World League Dr. Abdullah Bin Abdulmohsen Al Turkey to “His
Royal Highness Emir Sultan Bin Abdul Aziz Al Saud,” dated
02/04/1423AH (MWL 069984_EN)
Telegram from Fahd Bin Abdul Aziz to “His Royal Highness the            Exhibit 94T                                       Hearsay
Second Vice Prime Minister,” et al., dated 28/03/1423 (MWL
069986_EN)
Power of Attorney on letterhead of “Al-Haramain Islamic Fdn., Hed       Exhibit 95                                        Hearsay
Office – Riyadh,” dated October 22, 1997 (AHIF 000914).
Affidavit of Colleen Anderson (Special Agent of the Internal Revenue    Exhibit 96    Aver. Ex. 210                       Hearsay, FRE
Service) in Support of an Application for Search Warrant, In re: 3800                 (ECF No. 2930)                      602, Preliminary
S. Highway 99, Ashland OR 97520, United States District Court,                                                            investigative
District of Oregon (AHIF 001537)                                                                                          material
The Muslim World League Journal, Vol. 11, Nos. 5 & 6, page 65           Exhibit 97    Aver. Ex. 121                       Hearsay, FRE 602
(“More Dynamic Role for MWL,” by Dr. Abdullah Omar Naseef)                            (ECF No. 2930)
HSBC Account Statement for Muslim World League, Jun/Jul 2001            Exhibit 98                                        Hearsay
(JT-MWL 04822)
Midland Bank plc Account Statement for Muslim World League,             Exhibit 99                                        Hearsay
Mar/Apr1996 (JT-MWL 04833)
IIRO document labelled “Missions & External Programmes” (IIRO           Exhibit 100                                       Hearsay
000199)
Al Haramain document labelled “Organizational Background” (AH           Exhibit 101                                       Hearsay
00599)




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